B1 (Official FormCase     14-20029 Doc 1 Filed 01/09/14
                 1) (04/13)                                                                   Entered 01/09/14 13:54:11                       Page 1 of 56
                              UNITED STATES BANKRUPTCY COURT
                                                                                                                                     VOLUNTARY PETITION
                                        CONNECTICUT
                                      __________
 Name of Debtor (if individual, enter Last, First, Middle):                                    Name of Joint Debtor (Spouse) (Last, First, Middle):
Reed, John H.                                                                                  Reed, Paula Linda
 All Other Names used by the Debtor in the last 8 years                                        All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                   (include married, maiden, and trade names):

Indigenous Cultural Education Center                                                           Brave On Down Yoga & Wellness Studio, LLC
 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN
 (if more than one, state all): 6551                                                           (if more than one, state all): 3364, None

 Street Address of Debtor (No. and Street, City, and State):                                   Street Address of Joint Debtor (No. and Street, City, and State):
525 Exeter Road                                                                                525 Exeter Road
Lebanon, Connecticut                                                                           Lebanon, Connecticut
                                                         ZIP CODE                   06249                                                         ZIP CODE                   06249
 County of Residence or of the Principal Place of Business:                                    County of Residence or of the Principal Place of Business:
NEW LONDON                                                                                     NEW LONDON
 Mailing Address of Debtor (if different from street address):                                 Mailing Address of Joint Debtor (if different from street address):



                                                           ZIP CODE                                                                                 ZIP CODE
 Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                    ZIP CODE
                           Type of Debtor                                        Nature of Business                          Chapter of Bankruptcy Code Under Which
                       (Form of Organization)                        (Check one box.)                                           the Petition is Filed (Check one box.)
                          (Check one box.)
                                                                           Health Care Business                        X     Chapter 7                  Chapter 15 Petition for
 X      Individual (includes Joint Debtors)                                Single Asset Real Estate as defined in            Chapter 9                  Recognition of a Foreign
        See Exhibit D on page 2 of this form.                              11 U.S.C. § 101(51B)                              Chapter 11                 Main Proceeding
        Corporation (includes LLC and LLP)                                 Railroad                                          Chapter 12                 Chapter 15 Petition for
        Partnership                                                        Stockbroker                                       Chapter 13                 Recognition of a Foreign
        Other (If debtor is not one of the above entities, check           Commodity Broker                                                             Nonmain Proceeding
        this box and state type of entity below.)                          Clearing Bank
                                                                           Other
                        Chapter 15 Debtors                                       Tax-Exempt Entity                                           Nature of Debts
 Country of debtor’s center of main interests:                                (Check box, if applicable.)                                    (Check one box.)
                                                                                                                       X   Debts are primarily consumer            Debts are
                                                                          Debtor is a tax-exempt organization              debts, defined in 11 U.S.C.             primarily
 Each country in which a foreign proceeding by, regarding, or             under title 26 of the United States              § 101(8) as “incurred by an             business debts.
 against debtor is pending:                                               Code (the Internal Revenue Code).                individual primarily for a
                                                                                                                           personal, family, or
                                                                                                                           household purpose.”
                                   Filing Fee (Check one box.)                                                                 Chapter 11 Debtors
                                                                                               Check one box:
 X      Full Filing Fee attached.                                                                  Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach
        signed application for the court’s consideration certifying that the debtor is         Check if:
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.              Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                   insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must               on 4/01/16 and every three years thereafter).
        attach signed application for the court’s consideration. See Official Form 3B.         -----------------------------------
                                                                                               Check all applicable boxes:
                                                                                                   A plan is being filed with this petition.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                   of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                         THIS SPACE IS FOR
                                                                                                                                                                COURT USE ONLY
           Debtor estimates that funds will be available for distribution to unsecured creditors.
 X         Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
           distribution to unsecured creditors.
 Estimated Number of Creditors
 X

 1-49          50-99          100-199           200-999     1,000-         5,001-         10,001-          25,001-           50,001-          Over
                                                            5,000          10,000         25,000           50,000            100,000          100,000

 Estimated Assets
                               X
 $0 to         $50,001 to     $100,001 to       $500,001    $1,000,001     $10,000,001    $50,000,001      $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000          to $1       to $10         to $50         to $100          to $500           to $1 billion    $1 billion
                                                million     million        million        million          million
 Estimated Liabilities
                               X

 $0 to         $50,001 to     $100,001 to       $500,001    $1,000,001     $10,000,001    $50,000,001      $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000          to $1       to $10         to $50         to $100          to $500           to $1 billion    $1 billion
                                                million     million        million        million          million
B1 (Official FormCase    14-20029 Doc 1 Filed 01/09/14 Entered 01/09/14 13:54:11 Page 2 of 56
                 1) (04/13)
 Voluntary Petition                                                                    Name of Debtor(s): Reed, John H. and Reed, Paula Linda
 (This page must be completed and filed in every case.)
 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                              Case Number:                             Date Filed:
 Where Filed: NONE
 Location                                                                              Case Number:                             Date Filed:
 Where Filed:
 Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
 Name of Debtor:                                                                       Case Number:                             Date Filed:
                        NONE
 District:                                                                                      Relationship:                                    Judge:



                                         Exhibit A                                                                                  Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                                (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                    whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)
                                                                                                I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                                informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                                of title 11, United States Code, and have explained the relief available under each
                                                                                                such chapter. I further certify that I have delivered to the debtor the notice required
                                                                                                by 11 U.S.C. § 342(b).
          Exhibit A is attached and made a part of this petition.
                                                                                                X         s/s/ Frank N.Kibler                  January 6, 2014
                                                                                                    Signature of Attorney for Debtor(s)       (Date)



                                                                                      Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

          Yes, and Exhibit C is attached and made a part of this petition.

  X       No.


                                                                                      Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

  X       Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:

      X   Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.



                                                                      Information Regarding the Debtor - Venue
                                                                                (Check any applicable box.)
                X      Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                       preceding the date of this petition or for a longer part of such 180 days than in any other District.

                       There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                       Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has
                       no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this
                       District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                   Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                           (Check all applicable boxes.)

                          Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                (Name of landlord that obtained judgment)



                                                                                                (Address of landlord)

                          Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                          Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing
                          of the petition.

                          Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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 Voluntary Petition                                                                           Name of Debtor(s): Reed, John H. and Reed, Paula Linda
 (This page must be completed and filed in every case.)
                                                                                     Signatures
                     Signature(s) of Debtor(s) (Individual/Joint)                                                     Signature of a Foreign Representative

 I declare under penalty of perjury that the information provided in this petition is true    I declare under penalty of perjury that the information provided in this petition is true
 and correct.                                                                                 and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has             and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
 or 13 of title 11, United States Code, understand the relief available under each such       (Check only one box.)
 chapter, and choose to proceed under chapter 7.
                                                                                                  I request relief in accordance with chapter 15 of title 11, United States Code.
 [If no attorney represents me and no bankruptcy petition preparer signs the petition] I          Certified copies of the documents required by 11 U.S.C. § 1515 are attached.
 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
 I request relief in accordance with the chapter of title 11, United States Code,                 chapter of title 11 specified in this petition. A certified copy of the
 specified in this petition.                                                                       order granting recognition of the foreign main proceeding is attached.

 X    s/John H. Reed                                                                          X
      Signature of Debtor                      John H. Reed                                       (Signature of Foreign Representative)

 X    s/Paula Linda Reed
      Signature of Joint Debtor Paula Linda Reed                                                  (Printed Name of Foreign Representative)

      Telephone Number (if not represented by attorney)
      January 6, 2014                                                                             Date
      Date
                                Signature of Attorney*                                                    Signature of Non-Attorney Bankruptcy Petition Preparer

 X    s/s/ Frank N.Kibler                                                                     I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
      Signature of Attorney for Debtor(s)                                                     defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have
      Frank N. Kibler                                                                         provided the debtor with a copy of this document and the notices and information
      Printed Name of Attorney for Debtor(s)                                                  required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
      Attorney Frank N. Kibler                                                                guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum
      Firm Name                                                                               fee for services chargeable by bankruptcy petition preparers, I have given the debtor
                                                                                              notice of the maximum amount before preparing any document for filing for a debtor
      P.O. Box 3                                                                              or accepting any fee from the debtor, as required in that section. Official Form 19 is
      Manchester, Connecticut 06045                                                           attached.
      Address
      (860) 432-8753
      Telephone Number                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer
      January 6, 2014
      Date
                                                                                                  Social-Security number (If the bankruptcy petition preparer is not an individual,
                                                                                                  state the Social-Security number of the officer, principal, responsible person or
                                                                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)

 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
 certification that the attorney has no knowledge after an inquiry that the information
 in the schedules is incorrect.
                                                                                                  Address
                   Signature of Debtor (Corporation/Partnership)

 I declare under penalty of perjury that the information provided in this petition is true    X
 and correct, and that I have been authorized to file this petition on behalf of the              Signature
 debtor.

 The debtor requests the relief in accordance with the chapter of title 11, United States         Date
 Code, specified in this petition.
                                                                                              Signature of bankruptcy petition preparer or officer, principal, responsible person, or
 X                                                                                            partner whose Social-Security number is provided above.
      Signature of Authorized Individual
                                                                                              Names and Social-Security numbers of all other individuals who prepared or assisted
      Printed Name of Authorized Individual                                                   in preparing this document unless the bankruptcy petition preparer is not an
                                                                                              individual.
      Title of Authorized Individual
                                                                                              If more than one person prepared this document, attach additional sheets conforming
      Date
                                                                                              to the appropriate official form for each person.

                                                                                              A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
                                                                                              the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
                                                                                              both. 11 U.S.C. § 110; 18 U.S.C. § 156.
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B 1D (Official Form 1, Exhibit D) (12/09)




                             UNITED STATES BANKRUPTCY COURT
                                                      CONNECTICUT

In re John H. Reed , Paula Linda Reed                                    Case No.
                           Debtor

            EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                            CREDIT COUNSELING REQUIREMENT

Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the
court can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid,
and your creditors will be able to resume collection activities against you. If your case is dismissed
and you file another bankruptcy case later, you may be required to pay a second filing fee and you
may have to take extra steps to stop creditors’ collection activities.

        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must
complete and file a separate Exhibit D. Check one of the five statements below and attach any documents
as directed.

         1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a
credit counseling agency approved by the United States trustee or bankruptcy administrator that outlined
the opportunities for available credit counseling and assisted me in performing a related budget analysis,
and I have a certificate from the agency describing the services provided to me. Attach a copy of the
certificate and a copy of any debt repayment plan developed through the agency.

         2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a
credit counseling agency approved by the United States trustee or bankruptcy administrator that outlined
the opportunities for available credit counseling and assisted me in performing a related budget analysis,
but I do not have a certificate from the agency describing the services provided to me. You must file a
copy of a certificate from the agency describing the services provided to you and a copy of any debt
repayment plan developed through the agency no later than 15 days after your bankruptcy case is filed.
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B 1D (Official Form 1, Exh. D) (12/09) – Cont.



         3. I certify that I requested credit counseling services from an approved agency but was unable
to obtain the services during the five days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy
case now.

If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from
the agency that provided the counseling, together with a copy of any debt management plan
developed through the agency. Failure to fulfill these requirements may result in dismissal of your
case. Any extension of the 30-day deadline can be granted only for cause and is limited to a
maximum of 15 days. Your case may also be dismissed if the court is not satisfied with your reasons
for filing your bankruptcy case without first receiving a credit counseling briefing.

            4. I am not required to receive a credit counseling briefing because of:

                   Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness
          or mental deficiency so as to be incapable of realizing and making rational decisions with respect
          to financial responsibilities.);
                   Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of
          being unable, after reasonable effort, to participate in a credit counseling briefing in person, by
          telephone, or through the Internet.);
                   Active military duty in a military combat zone.

         5. The United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of 11 U.S.C. ' 109(h) does not apply in this district.

          I certify under penalty of perjury that the information provided above is true and correct.


Signature of Debtor: s/John H. Reed

Date: January 6, 2014




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B 1D (Official Form 1, Exhibit D) (12/09)




                             UNITED STATES BANKRUPTCY COURT
                                                      CONNECTICUT

In re John H. Reed, Paula Linda Reed                                     Case No.
                          Debtor

            EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                            CREDIT COUNSELING REQUIREMENT

       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the
court can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid,
and your creditors will be able to resume collection activities against you. If your case is dismissed
and you file another bankruptcy case later, you may be required to pay a second filing fee and you
may have to take extra steps to stop creditors' collection activities.

        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must
complete and file a separate Exhibit D. Check one of the five statements below and attach any documents
as directed.

         1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a
credit counseling agency approved by the United States trustee or bankruptcy administrator that outlined
the opportunities for available credit counseling and assisted me in performing a related budget analysis,
and I have a certificate from the agency describing the services provided to me. Attach a copy of the
certificate and a copy of any debt repayment plan developed through the agency.

         2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a
credit counseling agency approved by the United States trustee or bankruptcy administrator that outlined
the opportunities for available credit counseling and assisted me in performing a related budget analysis,
but I do not have a certificate from the agency describing the services provided to me. You must file a
copy of a certificate from the agency describing the services provided to you and a copy of any debt
repayment plan developed through the agency no later than 15 days after your bankruptcy case is filed.
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B 1D (Official Form 1, Exh. D) (12/09) – Cont.



         3. I certify that I requested credit counseling services from an approved agency but was unable
to obtain the services during the five days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy
case now.

If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from
the agency that provided the counseling, together with a copy of any debt management plan
developed through the agency. Failure to fulfill these requirements may result in dismissal of your
case. Any extension of the 30-day deadline can be granted only for cause and is limited to a
maximum of 15 days. Your case may also be dismissed if the court is not satisfied with your reasons
for filing your bankruptcy case without first receiving a credit counseling briefing.

            4. I am not required to receive a credit counseling briefing because of:

                   Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness
          or mental deficiency so as to be incapable of realizing and making rational decisions with respect
          to financial responsibilities.);
                   Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of
          being unable, after reasonable effort, to participate in a credit counseling briefing in person, by
          telephone, or through the Internet.);
                   Active military duty in a military combat zone.

         5. The United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of 11 U.S.C. ' 109(h) does not apply in this district.

          I certify under penalty of perjury that the information provided above is true and correct.


Signature of Joint Debtor: s/Paula Linda Reed

Date: January 6, 2014




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B6A (Official Form 6A) (12/07)

In re John H. Reed and Paula Linda Reed,                                                                       Case No.
                                                      Debtor                                                                           (If known)


                                       SCHEDULE A - REAL PROPERTY




                                                                                               Husband, Wife, Joint,
                                                                                                                         CURRENT VALUE




                                                                                                  or Community
                                                                                                                           OF DEBTOR’S
                  DESCRIPTION AND                                                                                          INTEREST IN       AMOUNT OF
                                                                 NATURE OF DEBTOR’S
                    LOCATION OF                                                                                        PROPERTY, WITHOUT      SECURED
                                                                INTEREST IN PROPERTY
                     PROPERTY                                                                                            DEDUCTING ANY         CLAIM
                                                                                                                         SECURED CLAIM
                                                                                                                          OR EXEMPTION




 525 Exeter Road, Lebanon, CT
                                                                                                        J                     $270,000.00           $270,000.00




 Time Share - Captain's Quarters, 241 Grand Avenue,
 Falmouth, MA 02540
                                                               Co-Ownership                             J                       $2,000.00
 Falmouth, MA




                                                                                             Total ►                           $272,000.00


                                                               (Report also on Summary of Schedules.)
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B 6B (Official Form 6B) (12/2007)

In re John H. Reed and Paula Linda Reed,                                                                 Case No.
                                                       Debtor                                                                         (If known)


                                      SCHEDULE B - PERSONAL PROPERTY




                                                                                                           Joint, Or Community
                                                                                                                                   CURRENT VALUE OF




                                                                                                              Husband, Wife,
                                                 N                                                                               DEBTOR’S INTEREST IN
                                                 O            DESCRIPTION AND LOCATION                                            PROPERTY, WITHOUT
          TYPE OF PROPERTY
                                                 N                  OF PROPERTY                                                     DEDUCTING ANY
                                                 E                                                                                  SECURED CLAIM
                                                                                                                                     OR EXEMPTION


 1. Cash on hand.                                     Cash                                                          J                                $25.00
                                                      Debtors' possession


 2. Checking, savings or other financial               Checking Acct #****1226 - Savings Institute                 J                                $500.00
 accounts, certificates of deposit or shares           Willimantic, CT
 in banks, savings and loan, thrift,
 building and loan, and homestead
 associations, or credit unions, brokerage
 houses, or cooperatives.


 3. Security deposits with public utilities,
 telephone companies, landlords, and             X
 others.

 4. Household goods and furnishings,                   Assorted items of household goods and furniture             J                               $2,000.00
 including audio, video, and computer                  Debtors' possession
 equipment.


 5. Books; pictures and other art objects;
 antiques; stamp, coin, record, tape,
                                                 X
 compact disc, and other collections or
 collectibles.

 6. Wearing apparel.                                   Assorted items of clothing                                  J                                $150.00
                                                       Debtors' possession


 7. Furs and jewelry.                                  Assorted items of costume jewelry and watches               J                               $1,000.00
                                                       Debtors' possession


 8. Firearms and sports, photographic,
                                                 X
 and other hobby equipment.

 9. Interests in insurance policies. Name
 insurance company of each
                                                 X
 policy and itemize surrender or
 refund value of each.

 10. Annuities. Itemize and name each
                                                 X
 issuer.

 11. Interests in an education IRA as
 defined in 26 U.S.C. § 530(b)(1) or under
 a qualified State tuition plan as defined in
                                                 X
 26 U.S.C. § 529(b)(1). Give particulars.
 (File separately the record(s) of any such
 interest(s). 11 U.S.C. § 521(c).)
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B 6B (Official Form 6B) (12/2007)

In re John H. Reed and Paula Linda Reed,                                                    Case No.
                                                        Debtor                                             (If known)


                                      SCHEDULE B - PERSONAL PROPERTY
                                                                     (Continuation Sheet)


 12. Interests in IRA, ERISA, Keogh, or
 other pension or profit sharing plans.           X
 Give particulars.

 13. Stock and interests in incorporated
                                                  X
 and unincorporated businesses. Itemize.

 14. Interests in partnerships or joint
                                                  X
 ventures. Itemize.

 15. Government and corporate bonds and
 other negotiable and nonnegotiable               X
 instruments.

 16. Accounts receivable.                         X

 17. Alimony, maintenance, support, and
 property settlements to which the debtor         X
 is or may be entitled. Give particulars.

 18. Other liquidated debts owed to debtor              2013 Federal Income Tax refund           J                       $900.00
 including tax refunds. Give particulars.


 19. Equitable or future interests, life
 estates, and rights or powers exercisable
 for the benefit of the debtor other than         X
 those listed in Schedule A – Real
 Property.

 20. Contingent and noncontingent
 interests in estate of a decedent, death
                                                  X
 benefit plan, life insurance policy, or
 trust.

 21. Other contingent and unliquidated
 claims of every nature, including tax
 refunds, counterclaims of the debtor, and        X
 rights to setoff claims. Give estimated
 value of each.

 22. Patents, copyrights, and other
                                                  X
 intellectual property. Give particulars.

 23. Licenses, franchises, and other
                                                  X
 general intangibles. Give particulars.

 24. Customer lists or other compilations
 containing personally identifiable
 information (as defined in 11 U.S.C. §
 101(41A)) provided to the debtor by
                                                  X
 individuals in connection with obtaining
 a product or service from the debtor
 primarily for personal, family, or
 household purposes.

 25. Automobiles, trucks, trailers, and                 1992 Ford F150                           J                      $1,500.00
 other vehicles and accessories.                        Debtors' possession
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B 6B (Official Form 6B) (12/2007)

In re John H. Reed and Paula Linda Reed,                                                            Case No.
                                                      Debtor                                                    (If known)


                                       SCHEDULE B - PERSONAL PROPERTY
                                                                   (Continuation Sheet)


                                                      2005 VW Golf                                       J                    $5,000.00
                                                      Debtors' possession


                                                      2007 Jeep Liberty                                  J                    $5,000.00
                                                      Debtors' possession


 26. Boats, motors, and accessories.                  4 kyaks                                            J                    $1,200.00
                                                      Debtors' possession


 27. Aircraft and accessories.                 X

 28. Office equipment, furnishings, and
                                               X
 supplies.

 29. Machinery, fixtures, equipment, and
                                               X
 supplies used in business.

 30. Inventory.                                X

 31. Animals.                                  X

 32. Crops - growing or harvested. Give
                                               X
 particulars.

 33. Farming equipment and implements.         X

 34. Farm supplies, chemicals, and feed.       X

 35. Other personal property of any kind
                                               X
 not already listed. Itemize.


                                               2 continuation sheets attached         Total ►                                $17,275.00
                                                          (Include amounts from any continuation
                                                            sheets attached. Report total also on
                                                                  Summary of Schedules.)
        Case 14-20029            Doc 1       Filed 01/09/14          Entered 01/09/14 13:54:11                  Page 12 of 56
B6C (Official Form 6C) (04/13)

In re John H. Reed and Paula Linda Reed,                                                      Case No.
                                   Debtor                                                                            (If known)


                      SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
Debtor claims the exemptions to which debtor is entitled under:            Check if debtor claims a homestead exemption that exceeds
(Check one box)                                                             $155,675.*
 11 U.S.C. § 522(b)(2)
 11 U.S.C. § 522(b)(3)

                                                                                                                        CURRENT
                                                                      SPECIFY LAW                VALUE OF
                                                                                                                   VALUE OF PROPERTY
                 DESCRIPTION OF PROPERTY                            PROVIDING EACH               CLAIMED
                                                                                                                   WITHOUT DEDUCTING
                                                                       EXEMPTION                EXEMPTION
                                                                                                                       EXEMPTION
 Time Share - Captain's Quarters, 241 Grand Avenue,               11 USC § 522(d)(5)                  $2,000.00                   $2,000.00
 Falmouth, MA 02540
 Cash                                                             11 USC § 522(d)(5)                      $25.00                      $25.00


 Checking Acct #****1226 - Savings Institute                      11 USC § 522(d)(5)                     $500.00                   $500.00


 Assorted items of household goods and furniture                  11 USC § 522(d)(3)                  $2,000.00                   $2,000.00


 Assorted items of clothing                                       11 USC § 522(d)(5)                     $150.00                   $150.00


 Assorted items of costume jewelry and watches                    11 USC § 522(d)(4)                  $1,000.00                   $1,000.00


 1992 Ford F150                                                   11 USC § 522(d)(2)                  $1,500.00                   $1,500.00


 2005 VW Golf                                                     11 USC § 522(d)(2)                  $5,000.00                   $5,000.00


 2007 Jeep Liberty                                                11 USC § 522(d)(2)                     $850.00                  $5,000.00

                                                                  11 USC § 522(d)(5)                  $4,150.00


 4 kyaks                                                          11 USC § 522(d)(5)                  $1,200.00                   $1,200.00


 2013 Federal Income Tax refund                                   11 USC § 522(d)(5)                     $900.00                   $900.00




* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.
            Case 14-20029                                   Doc 1                                        Filed 01/09/14                                       Entered 01/09/14 13:54:11                                                                                                                                Page 13 of 56
 B 6D (Official Form 6D) (12/07)


  In re ____________________________________,
        John H. Reed and Paula Linda Reed                                                                                                                                                                                           Case No. __________________________________
                                                                                                Debtor                                                                                                                                                     (If known)

                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
           □          Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                                                               HUSBAND, WIFE,




                                                                                                                                                                                                                            UNLIQUIDATED
   CREDITOR’S NAME AND                                                                                                               DATE CLAIM WAS                                                                                                                                                 AMOUNT OF CLAIM                                        UNSECURED




                                                                                                                                                                                        CONTINGENT
                                                                                                COMMUNITY
                                                            CODEBTOR
      MAILING ADDRESS                                                                                                                    INCURRED,                                                                                                                                                      WITHOUT                                            PORTION, IF

                                                                                                 JOINT, OR




                                                                                                                                                                                                                                                                  DISPUTED
  INCLUDING ZIP CODE AND                                                                                                             NATURE OF LIEN ,                                                                                                                                               DEDUCTING VALUE                                           ANY
    AN ACCOUNT NUMBER                                                                                                                       AND                                                                                                                                                      OF COLLATERAL
     (See Instructions Above.)                                                                                                         DESCRIPTION
                                                                                                                                       AND VALUE OF
                                                                                                                                         PROPERTY
                                                                                                                                     SUBJECT TO LIEN
 ACCOUNT NO. 8695                                                                                                                  7/1/2006
Citizens Bank                                                                                                                      HELOC
One Citizens Drive
Riverside, RI 02904                                                                                                                525 Exeter Road,
                                                                                                    J                              Lebanon, CT                                                                                                                                                                  $153,560.21                                     $153,560.21


                                                                                                                                       VALUE $       $270,000.00
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 ACCOUNT NO. 5557
————————————————————————————————————
                                                                                                                                   10/1/2003
CITIZENSBK                                                                                                                         Mortgage
1 CITIZENS DRIVE
RIVERSIDE, RI 02886                                                                                                                525 Exeter Road,
                                                                                                    J                              Lebanon, CT                                                                                                                                                                  $285,000.00                                       $19,938.47

                                                                                                                               —————————————————————————
                                                                                                                                       VALUE $
——————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————
                                                                                                                                                     $270,000.00




 ____
   0 continuation sheets                                                                                                               Subtotal ►                                                                                                                                                   $            438,560.21 $                                     173,498.68
      attached                                                                                                                         (Total of this page)
                                                                                                                                       Total ►                                                                                                                                                      $            438,560.21 $                                     173,498.68
                                                                                                                                       (Use only on last page)
                                                                                                                                                                                                                                                                                                    (Report also on Summary of                          (If applicable, report
                                                                                                                                                                                                                                                                                                    Schedules.)                                         also on Statistical
                                                                                                                                                                                                                                                                                                                                                        Summary of Certain
                                                                                                                                                                                                                                                                                                                                                        Liabilities and Related
                                                                                                                                                                                                                                                                                                                                                        Data.)
           Case 14-20029              Doc 1       Filed 01/09/14            Entered 01/09/14 13:54:11                    Page 14 of 56
B 6E (Official Form 6E) (04/13)

       In re
                John H. Reed and Paula Linda Reed                                      ,              Case No.
                                               Debtor                                                                     (if known)


         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
X    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations

    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case

  Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions

  Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

    Contributions to employee benefit plans

  Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

    Certain farmers and fishermen

 Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

    Deposits by individuals

  Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).

    Taxes and Certain Other Debts Owed to Governmental Units

 Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

    Commitments to Maintain the Capital of an Insured Depository Institution

  Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).

    Claims for Death or Personal Injury While Debtor Was Intoxicated

  Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
drug, or another substance. 11 U.S.C. § 507(a)(10).


* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.


                                                            0 continuation sheets attached
                                                           ____
                Case
B 6F (Official Form      14-20029
                    6F) (12/07)            Doc 1                    Filed 01/09/14                               Entered 01/09/14 13:54:11                                                            Page 15 of 56

         John H. Reed and Paula Linda Reed
   In re _________________________________________________________,                                                          Case No. _________________________________
                                           Debtor                                                                                                    (if known)
       SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
         G Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                                HUSBAND, WIFE,

                                                                                 COMMUNITY
           CREDITOR’S NAME,                                                                                     DATE CLAIM WAS                                                                                                   AMOUNT OF




                                                                                                                                                                           UNLIQUIDATED
                                                                                  JOINT, OR




                                                                                                                                                  CONTINGENT
                                                         CODEBTOR
            MAILING ADDRESS                                                                                      INCURRED AND                                                                                                      CLAIM




                                                                                                                                                                                                      DISPUTED
          INCLUDING ZIP CODE,                                                                                 CONSIDERATION FOR
         AND ACCOUNT NUMBER                                                                                          CLAIM.
               See instructions above.                                                                       IF CLAIM IS SUBJECT TO
                                                                                                                SETOFF, SO STATE.
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      ACCOUNT NO.                                                                                      10/1/2013
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                                                                                                       Dental Services
      Associated Dental                                                              H                                                                                                                                                 $50.00
      935 Main Street
      Manchester, CT 06040

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      ACCOUNT NO. 6917                                                                                 2/1/2013
      ————————————————
                                                                                                       CREDIT CARD AMOUNT IN
      Capital One                                                                    W                 H/C COLUMN IS CREDIT                                                                                                         $1,000.00
      P.O. Box 71083                                                                                   LIMIT
      Charlotte, NC 28272

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      ACCOUNT NO. 8872                                                                                 2/1/2013
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                                                                                                       Credit card
      Capital One                                                                    W                                                                                                                                                $200.00
      P.O. Box 71083
      Charlotte, NC 28272

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      ACCOUNT NO. 0418                                                                                 8/1/2013
      ————————————————
     Clinical Laboratories Partners   Dental Services
     LLC                            H                 $52.68
     P.O. Box 1799
     Colorado Springs, CO
     80901-1799
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                                                                                                                                                                               Subtotal'                                     $       1,302.68
         4
       _____continuation sheets attached                                                                                                               Total'                                                                $
                                                                                                         (Use only on last page of the completed Schedule F.)
                                                                                     (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                           Summary of Certain Liabilities and Related Data.)
                Case
B 6F (Official Form      14-20029
                    6F) (12/07) - Cont.        Doc 1                    Filed 01/09/14                               Entered 01/09/14 13:54:11                                                            Page 16 of 56

      John H. Reed and Paula Linda Reed
In re __________________________________________,                                                                                Case No. _________________________________
                      Debtor                                                                                                                       (if known)


        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                          (Continuation Sheet)




                                                                                    HUSBAND, WIFE,




                                                                                                                                                                               UNLIQUIDATED
                                                                                     COMMUNITY
                                                                                                                    DATE CLAIM WAS




                                                                                                                                                      CONTINGENT
             CREDITOR’S NAME,



                                                             CODEBTOR


                                                                                      JOINT, OR




                                                                                                                                                                                                          DISPUTED
                                                                                                                     INCURRED AND
              MAILING ADDRESS
                                                                                                                  CONSIDERATION FOR                                                                                                  AMOUNT OF
            INCLUDING ZIP CODE,
                                                                                                                         CLAIM.                                                                                                        CLAIM
           AND ACCOUNT NUMBER
                 (See   instructions above.)                                                                     IF CLAIM IS SUBJECT TO
                                                                                                                    SETOFF, SO STATE.
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       ACCOUNT NO. 8145                                                                                   1/1/2013
       ————————————————
                                                                                                          CHARGE AMOUNT IN H/C
       GECRB/CARE                                                                        J                COLUMN IS CREDIT LIMIT                                                                                                        $7,000.00
       C/O P.O. BOX 965036
       ORLANDO, FL 32896-5036

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       ACCOUNT NO. 0996                                                                                   3/1/2013
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                                                                                                          Credit card
       Ideal Image                                                                      W                                                                                                                                               $3,300.00
       P.O. Box 659622
       San Antonio, TX 78265

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       ACCOUNT NO. 4946                                                                                   2/1/2008
       ————————————————
                                                                                                          CONSUMER DISPUTES THIS
       LVNVFUNDG                                                                         J                ACCOUNT INFORMATION                                                                                                          $14,671.00
       625 PILOT ROAD SUITE 2/3                                                                           COLLECTION ACCOUNT
       LAS VEGAS, NV 89119

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       Additional Contacts for LVNVFUNDG (4946):




          Heather Q. Wallace, Esq.
          41 Kenosia Avenue
          Suite 302
          Danbury, CT 06810



         Sheet no. 1 of 4 continuation sheets attached                                                                                                                               Subtotal'                                   $      24,971.00
         to Schedule of Creditors Holding Unsecured
         Nonpriority Claims

                                                                                                                                                          Total'                                                                 $
                                                                                                            (Use only on last page of the completed Schedule F.)
                                                                                         (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                               Summary of Certain Liabilities and Related Data.)
                Case
B 6F (Official Form      14-20029
                    6F) (12/07) - Cont.        Doc 1                    Filed 01/09/14                               Entered 01/09/14 13:54:11                                                            Page 17 of 56

      John H. Reed and Paula Linda Reed
In re __________________________________________,                                                                                Case No. _________________________________
                      Debtor                                                                                                                       (if known)


        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                          (Continuation Sheet)




                                                                                    HUSBAND, WIFE,




                                                                                                                                                                               UNLIQUIDATED
                                                                                     COMMUNITY
                                                                                                                    DATE CLAIM WAS




                                                                                                                                                      CONTINGENT
             CREDITOR’S NAME,



                                                             CODEBTOR


                                                                                      JOINT, OR




                                                                                                                                                                                                          DISPUTED
                                                                                                                     INCURRED AND
              MAILING ADDRESS
                                                                                                                  CONSIDERATION FOR                                                                                                  AMOUNT OF
            INCLUDING ZIP CODE,
                                                                                                                         CLAIM.                                                                                                        CLAIM
           AND ACCOUNT NUMBER
                 (See   instructions above.)                                                                     IF CLAIM IS SUBJECT TO
                                                                                                                    SETOFF, SO STATE.
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       ACCOUNT NO. 73 0                                                                                   8/1/2013
       ————————————————
                                                                                                          Credit Card Charges
       Macy's                                                                           W                                                                                                                                               $2,150.07
       P.O. Box 183083
       Columbus, OH 43218-3083

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       ACCOUNT NO.                                                                                        7/1/2013
       ————————————————
                                                                                                          Medical services
       Middlesex Hospital
       Marlborough Medical Center                                                        J                                                                                                                                               $350.00
       12 Jones Hollow Road
       Marborough, CT 06447

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       ACCOUNT NO. 5 09                                                                                   8/1/2013
       ————————————————
                                                                                                          Credit Card Charges
       Nordstrom                                                                        W                                                                                                                                                $500.00
       P.O. Box 6555
       Englewood, CO 80155

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       ACCOUNT NO. 5 04                                                                                   9/1/2013
       ————————————————
                                                                                                          Credit Card Charges
       Nordstrom                                                                         H                                                                                                                                               $192.32
       P.O. Box 6555
       Englewood, CO 80155

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         Sheet no. 2 of 4 continuation sheets attached                                                                                                                               Subtotal'                                   $       3,192.39
         to Schedule of Creditors Holding Unsecured
         Nonpriority Claims

                                                                                                                                                          Total'                                                                 $
                                                                                                            (Use only on last page of the completed Schedule F.)
                                                                                         (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                               Summary of Certain Liabilities and Related Data.)
                Case
B 6F (Official Form      14-20029
                    6F) (12/07) - Cont.        Doc 1                    Filed 01/09/14                               Entered 01/09/14 13:54:11                                                            Page 18 of 56

      John H. Reed and Paula Linda Reed
In re __________________________________________,                                                                                Case No. _________________________________
                      Debtor                                                                                                                       (if known)


        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                          (Continuation Sheet)




                                                                                    HUSBAND, WIFE,




                                                                                                                                                                               UNLIQUIDATED
                                                                                     COMMUNITY
                                                                                                                    DATE CLAIM WAS




                                                                                                                                                      CONTINGENT
             CREDITOR’S NAME,



                                                             CODEBTOR


                                                                                      JOINT, OR




                                                                                                                                                                                                          DISPUTED
                                                                                                                     INCURRED AND
              MAILING ADDRESS
                                                                                                                  CONSIDERATION FOR                                                                                                  AMOUNT OF
            INCLUDING ZIP CODE,
                                                                                                                         CLAIM.                                                                                                        CLAIM
           AND ACCOUNT NUMBER
                 (See   instructions above.)                                                                     IF CLAIM IS SUBJECT TO
                                                                                                                    SETOFF, SO STATE.
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       ACCOUNT NO.                                                                                        7/1/2013
       ————————————————
                                                                                                          Medical services
       Quest Laboratories                                                                J                                                                                                                                               $350.00
       15 South Elm Street
       Wallingford, CT 06492

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       Additional Contacts for Quest Laboratories:




          BHR
          164 Burke Street
          Suite 201
          Nashua, NH 03060
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       ACCOUNT NO. 6752                                                                                   7/1/2013
       ————————————————
                                                                                                          Credit Card Charges
       Tractor Supply                                                                    H                                                                                                                                               $144.65
       P.O. Box 6403
       Sioux Falls, SD 57117-6403

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       ACCOUNT NO. 6671                                                                                   7/1/2013
       ————————————————
                                                                                                          Software
       Twin Oaks Software                                                               W                                                                                                                                                 $51.91
       P.O. Box 247
       Kensington, CT 06037

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         Sheet no. 3 of 4 continuation sheets attached                                                                                                                               Subtotal'                                   $        546.56
         to Schedule of Creditors Holding Unsecured
         Nonpriority Claims

                                                                                                                                                          Total'                                                                 $
                                                                                                            (Use only on last page of the completed Schedule F.)
                                                                                         (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                               Summary of Certain Liabilities and Related Data.)
                Case
B 6F (Official Form      14-20029
                    6F) (12/07) - Cont.        Doc 1                    Filed 01/09/14                               Entered 01/09/14 13:54:11                                                            Page 19 of 56

      John H. Reed and Paula Linda Reed
In re __________________________________________,                                                                                Case No. _________________________________
                      Debtor                                                                                                                       (if known)


        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                          (Continuation Sheet)




                                                                                    HUSBAND, WIFE,




                                                                                                                                                                               UNLIQUIDATED
                                                                                     COMMUNITY
                                                                                                                    DATE CLAIM WAS




                                                                                                                                                      CONTINGENT
             CREDITOR’S NAME,



                                                             CODEBTOR


                                                                                      JOINT, OR




                                                                                                                                                                                                          DISPUTED
                                                                                                                     INCURRED AND
              MAILING ADDRESS
                                                                                                                  CONSIDERATION FOR                                                                                                  AMOUNT OF
            INCLUDING ZIP CODE,
                                                                                                                         CLAIM.                                                                                                        CLAIM
           AND ACCOUNT NUMBER
                 (See   instructions above.)                                                                     IF CLAIM IS SUBJECT TO
                                                                                                                    SETOFF, SO STATE.
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       ACCOUNT NO. 652A                                                                                   1/1/2011
       ————————————————
                                                                                                          Small business loan
       U.S. Dept. of Treasury
       Debt Management Services                                                         W                                                                                                                                              $12,746.00
       P.O. Box 70950
       Charlotte, NC 08272

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         Sheet no. 4 of 4 continuation sheets attached                                                                                                                               Subtotal'                                   $      12,746.00
         to Schedule of Creditors Holding Unsecured
         Nonpriority Claims

                                                                                                                                                          Total'                                                                 $      42,758.63
                                                                                                            (Use only on last page of the completed Schedule F.)
                                                                                         (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                               Summary of Certain Liabilities and Related Data.)
Case 14-20029            Doc 1      Filed 01/09/14          Entered 01/09/14 13:54:11             Page 20 of 56
  B 6G (Official Form 6G) (12/07)

  In re John H. Reed and Paula Linda Reed,                                     Case No.
                                               Debtor                                     (if known)

  SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
   Check this box if debtor has no executory contracts or unexpired leases.


                                                                DESCRIPTION OF CONTRACT OR LEASE AND
        NAME AND MAILING ADDRESS,                                NATURE OF DEBTOR’S INTEREST. STATE
            INCLUDING ZIP CODE,                                 WHETHER LEASE IS FOR NONRESIDENTIAL
  OF OTHER PARTIES TO LEASE OR CONTRACT.                           REAL PROPERTY. STATE CONTRACT
                                                                NUMBER OF ANY GOVERNMENT CONTRACT.
       Case 14-20029              Doc 1        Filed 01/09/14   Entered 01/09/14 13:54:11     Page 21 of 56
B 6H (Official Form 6H) (12/07)

In re John H. Reed and Paula Linda Reed,                                 Case No.
                                                      Debtor                                (if known)


                                               SCHEDULE H - CODEBTORS
 Check this box if debtor has no codebtors.


            NAME AND ADDRESS OF CODEBTOR                                 NAME AND ADDRESS OF CREDITOR
               Case 14-20029             Doc 1            Filed 01/09/14       Entered 01/09/14 13:54:11                  Page 22 of 56

 Fill in this information to identify your case:


 Debtor 1            John H. Reed
                    ___________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2             Paula Linda Reed
                     __________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


                                      Connecticut      _
 United States Bankruptcy Court for : ______________________

 Case number         ___________________________________________                                   Check if this is:
  (If known)
                                                                                                    An amended filing
                                                                                                    A supplement showing post-petition
                                                                                                       chapter 13 income as of the following date:
Official Form B 6I
                                                                                                       ________________
                                                                                                       MM / DD / YYYY


Schedule I: Your Income                                                                                                                           12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                         Debtor 1                                    Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional         Employment status            
                                                                      X
                                                                        Employed                                        Employed
    employers.                                                         Not employed                                 
                                                                                                                     X
                                                                                                                         Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation
                                                                    Counsellor
                                                                    __________________________________           __________________________________
    Occupation may Include student
    or homemaker, if it applies.
                                         Employer’s name            See Attachment 1
                                                                    __________________________________           __________________________________


                                         Employer’s address          525 Exeter Road
                                                                    _______________________________________    ________________________________________
                                                                      Number Street                             Number    Street

                                                                    _______________________________________    ________________________________________

                                                                   _______________________________________     ________________________________________

                                                                     Lebanon, CT 06249
                                                                    _______________________________________    ________________________________________
                                                                      City           State  ZIP Code             City                State ZIP Code

                                         How long employed there?         _______
                                                                          2 yrs                                   _______

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                              For Debtor 1        For Debtor 2 or
                                                                                                                  non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.       2.     150.00
                                                                                             $___________            $____________

 3. Estimate and list monthly overtime pay.                                            3.      0.00
                                                                                            + $___________       +   $____________


 4. Calculate gross income. Add line 2 + line 3.                                       4.     150.00
                                                                                             $__________              0.00
                                                                                                                     $____________



Official Form B 6I                                               Schedule I: Your Income                                                      page 1
             Case 14-20029                        Doc 1            Filed 01/09/14                    Entered 01/09/14 13:54:11                        Page 23 of 56
Debtor 1         John H. Reed
                 _______________________________________________________                                                  Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name



                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.      150.00
                                                                                                                          $___________             0.00
                                                                                                                                                  $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.      0.00
                                                                                                                         $____________            $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.      0.00
                                                                                                                         $____________            $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.      0.00
                                                                                                                         $____________            $_____________
     5d. Required repayments of retirement fund loans                                                            5d.      0.00
                                                                                                                         $____________            $_____________
     5e. Insurance                                                                                               5e.      0.00
                                                                                                                         $____________            $_____________
     5f. Domestic support obligations                                                                            5f.      0.00
                                                                                                                         $____________            $_____________

     5g. Union dues                                                                                              5g.
                                                                                                                          0.00
                                                                                                                         $____________            $_____________

     5h. Other deductions. Specify: __________________________________                                           5h.       0.00
                                                                                                                        + $____________       +   $_____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                    6.      0.00
                                                                                                                         $____________             0.00
                                                                                                                                                  $_____________

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.      150.00
                                                                                                                         $____________             0.00
                                                                                                                                                  $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                              0.00                     0.00
                                                                                                                         $____________            $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.      0.00
                                                                                                                         $____________             0.00
                                                                                                                                                  $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                          0.00                     0.00
                                                                                                                         $____________            $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.      0.00
                                                                                                                         $____________             0.00
                                                                                                                                                  $_____________
     8e. Social Security                                                                                         8e.      0.00
                                                                                                                         $____________             0.00
                                                                                                                                                  $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental                                           2,055.00
                                                                                                                         $____________             0.00
                                                                                                                                                  $_____________
         Nutrition Assistance Program) or housing subsidies.
                   Social Security
         Specify: ___________________________________________________              8f.

     8g. Pension or retirement income                                                                            8g.      4,091.08
                                                                                                                         $____________             0.00
                                                                                                                                                  $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.    + $____________       + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.      6,146.08
                                                                                                                         $____________             0.00
                                                                                                                                                  $_____________

10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                          6,296.08
                                                                                                                         $___________     +        0.00
                                                                                                                                                  $_____________    6,296.08
                                                                                                                                                                 = $_____________
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
             None
    Specify: _______________________________________________________________________________                                                                           0.00
                                                                                                                                                                11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                12.
                                                                                                                                                                       6,296.08
                                                                                                                                                                      $_____________
                                                                                                                                                                      Combined
                                                                                                                                                                      monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     
     X
           No.
          Yes. Explain:


Official Form B 6I                                                                 Schedule I: Your Income                                                                page 2
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                                     Addendum

Attachment 1
    Indigenous Cultural Education Center
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  Fill in this information to identify your case:

  Debtor 1          John H. Reed
                    __________________________________________________________________
                      First Name              Middle Name             Last Name                       Check if this is:
                      Paula Linda Reed
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name             Last Name
                                                                                                       An amended filing
                                       Connecticut
                                                                                                       A supplement showing post-petition chapter 13
                                                        _
  United States Bankruptcy Court for : ______________________                                             expenses as of the following date:
                                                                                                          ________________
  Case number         ___________________________________________                                         MM / DD / YYYY
  (If known)
                                                                                                       A separate filing for Debtor 2 because Debtor 2
                                                                                                          maintains a separate household
Official Form B 6J
Schedule J: Your Expenses                                                                                                                            12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

       No. Go to line 2.
   
   X
        Yes. Does Debtor 2 live in a separate household?

               
               X
                     No
                    Yes. Debtor 2 must file a separate Schedule J.

2. Do you have dependents?                  
                                            X
                                                No                                 Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                    Yes. Fill out this information for Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’
                                                                                                                                              No
                                                                                   _________________________                ________
   names.                                                                                                                                     Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

3. Do your expenses include
   expenses of people other than
                                            
                                            X
                                                No
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value
of such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                       Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                               2,067.04
                                                                                                                              $_____________________
     any rent for the ground or lot.                                                                                  4.

     If not included in line 4:
     4a.    Real estate taxes                                                                                         4a.      0.00
                                                                                                                              $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                              4b.      180.00
                                                                                                                              $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                             4c.      200.00
                                                                                                                              $_____________________
     4d.    Homeowner’s association or condominium dues                                                               4d.      0.00
                                                                                                                              $_____________________

Official Form B 6J                                              Schedule J: Your Expenses                                                        page 1
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 Debtor 1        John H. Reed
                 _______________________________________________________                      Case number (if known)_____________________________________
                 First Name     Middle Name           Last Name




                                                                                                                         Your expenses

                                                                                                                         0.00
                                                                                                                        $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                   5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                       6a.     700.00
                                                                                                                        $_____________________
      6b.   Water, sewer, garbage collection                                                                     6b.     0.00
                                                                                                                        $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                       6c.     230.00
                                                                                                                        $_____________________
      6d.                   Internet/Cable
            Other. Specify: _______________________________________________                                      6d.     70.00
                                                                                                                        $_____________________

 7. Food and housekeeping supplies                                                                               7.      500.00
                                                                                                                        $_____________________

 8. Childcare and children’s education costs                                                                     8.      0.00
                                                                                                                        $_____________________
 9. Clothing, laundry, and dry cleaning                                                                          9.      100.00
                                                                                                                        $_____________________
10.   Personal care products and services                                                                        10.     0.00
                                                                                                                        $_____________________
11.   Medical and dental expenses                                                                                11.     500.00
                                                                                                                        $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.                                                         200.00
                                                                                                                        $_____________________
      Do not include car payments.                                                                               12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                         13.     50.00
                                                                                                                        $_____________________
14.   Charitable contributions and religious donations                                                           14.     100.00
                                                                                                                        $_____________________
                                                                                                                                                       1
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                        15a.    0.00
                                                                                                                        $_____________________
      15b. Health insurance                                                                                      15b.    190.00
                                                                                                                        $_____________________
      15c. Vehicle insurance                                                                                     15c.    164.00
                                                                                                                        $_____________________
      15d. Other insurance. Specify:_______________________________________                                      15d.    0.00
                                                                                                                        $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                         470.00
                                                                                                                        $_____________________
               See Attachment 1
      Specify: ________________________________________________________                                          16.

17.   Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                            17a.    0.00
                                                                                                                        $_____________________

      17b. Car payments for Vehicle 2                                                                            17b.
                                                                                                                         0.00
                                                                                                                        $_____________________

      17c. Other. Specify:_______________________________________________                                        17c.   $_____________________

      17d. Other. Specify:_______________________________________________                                        17d.   $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted                            0.00
      from your pay on line 5, Schedule I, Your Income (Official Form B 6I).                                      18.   $_____________________


19.   Other payments you make to support others who do not live with you.
              None
      Specify:_______________________________________________________                                             19.    0.00
                                                                                                                        $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                           20a.
                                                                                                                         0.00
                                                                                                                        $_____________________

      20b. Real estate taxes                                                                                     20b.
                                                                                                                         0.00
                                                                                                                        $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                          20c.
                                                                                                                         0.00
                                                                                                                        $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                              20d.
                                                                                                                         0.00
                                                                                                                        $_____________________

      20e. Homeowner’s association or condominium dues                                                           20e.
                                                                                                                         0.00
                                                                                                                        $_____________________



 Official Form B 6J                                               Schedule J: Your Expenses                                                   page 2
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 Debtor 1         John H. Reed
                  _______________________________________________________                     Case number (if known)_____________________________________
                  First Name    Middle Name           Last Name




21.                    Time share fees
       Other. Specify: _________________________________________________                                         21.     50.00
                                                                                                                       +$_____________________

22.    Your monthly expenses. Add lines 4 through 21.
                                                                                                                         5,771.04
                                                                                                                        $_____________________
       The result is your monthly expenses.                                                                      22.




23. Calculate your monthly net income.
                                                                                                                          6,296.08
                                                                                                                         $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                       23a.

      23b.   Copy your monthly expenses from line 22 above.                                                     23b.      5,771.04
                                                                                                                       – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                          525.04
                                                                                                                         $_____________________
             The result is your monthly net income.                                                             23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      
      X
          No.
         Yes.      Explain here:




 Official Form B 6J                                               Schedule J: Your Expenses                                                   page 3
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                                     Addendum

Attachment 1
    Description: MV taxes
    Amount: 40.00

    Description: RE taxes
    Amount: 430.00
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B 6 Summary (Official Form 6 - Summary) (12/13)



                                       UNITED STATES BANKRUPTCY COURT
                                          __________
                                              CONNECTICUT



In re                                                                                     Case No. ___________________
        John H. Reed and Paula Linda Reed
        ________________________________________,
                                                                                                  7
                                                                                          Chapter ____________
                   Debtor

                                                    SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical
Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.

                                                  ATTACHED
 NAME OF SCHEDULE                                  (YES/NO)      NO. OF SHEETS             ASSETS               LIABILITIES              OTHER

 A - Real Property
                                                    YES                  1            $     272,000.00

 B - Personal Property
                                                    YES                  3            $      17,275.00

 C - Property Claimed
                                                    YES                  1
     as Exempt

 D - Creditors Holding
                                                    YES                  1                                  $        438,560.21
     Secured Claims

 E - Creditors Holding Unsecured                                                                            $                 0.00
     Priority Claims                                YES                  1
     (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured                                                                            $          42,758.63
     Nonpriority Claims                             YES                  5

 G - Executory Contracts and
     Unexpired Leases                               YES                  1

 H - Codebtors
                                                    YES                  1

 I - Current Income of
                                                    YES                  3                                                           $       6,296.08
     Individual Debtor(s)

 J - Current Expenditures of Individual
                                                    YES                  4                                                           $       5,771.04
     Debtors(s)

                                          TOTAL                                       $     289,275.00      $        481,318.84
                                                                        21
            Case 14-20029              Doc 1      Filed 01/09/14          Entered 01/09/14 13:54:11                  Page 30 of 56
B 6 Summary (Official Form 6 - Summary) (12/13)


                                   UNITED STATES BANKRUPTCY COURT
                                      _________________________________
                                                  CONNECTICUT


In re                                                                                   Case No. ___________________
        John H. Reed and Paula Linda Reed
        _______________________________________,                                                7
                                                                                        Chapter ____________
                   Debtor


    STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

            Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.



 Type of Liability                                                    Amount

 Domestic Support Obligations (from Schedule E)                       $            0.00

 Taxes and Certain Other Debts Owed to Governmental Units             $            0.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was                 $            0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                           $            0.00

 Domestic Support, Separation Agreement, and Divorce Decree           $            0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar          $            0.00
 Obligations (from Schedule F)

                                                           TOTAL      $            0.00

State the following:
 Average Income (from Schedule I, Line 12)                            $        6,296.08

 Average Expenses (from Schedule J, Line 22)                          $        5,771.04

 Current Monthly Income (from Form 22A Line 12; OR, Form              $        4,241.08
 22B Line 11; OR, Form 22C Line 20 )

State the following:
  1. Total from Schedule D, “UNSECURED PORTION, IF                                         $      173,498.68
  ANY” column

  2. Total from Schedule E, “AMOUNT ENTITLED TO                       $             0.00
  PRIORITY” column.

  3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                        $             0.00
  PRIORITY, IF ANY” column

  4. Total from Schedule F                                                                 $       42,758.63

  5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                             $      216,257.31
                Case 14-20029
B6 Declaration (Official Form 6 - Declaration) (12/07)   Doc 1              Filed 01/09/14                        Entered 01/09/14 13:54:11                                          Page 31 of 56
      In re
              John H. Reed and Paula Linda Reed
              _________________________________________                                                                  ,                Case No. ______________________________
                            Debtor                                                                                                                             (if known)




                              DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


                                                                                                            23 sheets, and that they are true and correct to the best of
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _____
my knowledge, information, and belief.


     January 6, 2014
Date __________________________________                                                                                        s/John H. Reed
                                                                                                                    Signature: ________________________________________________
                                                                                                                                                      John H. Reed Debtor

     January 6, 2014
Date __________________________________                                                                                        s/Paula Linda Reed
                                                                                                                    Signature: ________________________________________________
                                                                                                                                               Paula Linda Reed (Joint Debtor, if any)

                                                                                                                          [If joint case, both spouses must sign.]

                                   -------------------------------------------------------------------------------------------------------------------------------------------
                             DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

  I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have provided
the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h) and 342(b); and, (3) if rules or guidelines have been
promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum
amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required by that section.

_____________________________________________________                                             _____________________________
Printed or Typed Name and Title, if any,                                                          Social Security No.
of Bankruptcy Petition Preparer                                                                   (Required by 11 U.S.C. § 110.)

If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
who signs this document.
_________________________________
_________________________________
_________________________________
Address

X _____________________________________________________                                                                         ____________________
 Signature of Bankruptcy Petition Preparer                                                                                      Date


Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
18 U.S.C. § 156.
   --------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------

                     DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


    I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member or an authorized agent of the
partnership ] of the ___________________________________ [corporation or partnership] named as debtor in this case, declare under penalty of perjury that I have
read the foregoing summary and schedules, consisting of _____ sheets (Total shown on summary page plus 1), and that they are true and correct to the best of my
knowledge, information, and belief.


Date ______________________________________
                                                                                                        Signature: _____________________________________________________________

                                                                                                                       ____________________________________________________________
                                                                                                                         [Print or type name of individual signing on behalf of debtor.]

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
 ----------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
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B 7 (Official Form 7) (04/13)




                          UNITED STATES BANKRUPTCY COURT
                                                          CONNECTICUT


In re: John H. Reed and Paula Linda Reed                                Case No
                                 Debtor                                                             (if known)



                                          STATEMENT OF FINANCIAL AFFAIRS

        1. Income from employment or operation of business
None        State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
           the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
            beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
            two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
            the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
            of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
            under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
            spouses are separated and a joint petition is not filed.)

                            AMOUNT                                          SOURCE

            Debtor:
                         Current Year (2013):
                         $1,350.00                                        Self-employed


                         Previous Year 1 (2012):
                         $1,495.00                                        Self-employed


                         Previous Year 2 (2011):
                         $2,011.00                                        Self-employed

            Joint Debtor:
                      N/A


            2. Income other than from employment or operation of business

None        State the amount of income received by the debtor other than from employment, trade, profession, operation of the
           debtor's business during the two years immediately preceding the commencement of this case. Give particulars. If a
            joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
            must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
            petition is not filed.)

                                AMOUNT                                        SOURCE

            Debtor:
                         Current Year (2013):
                         $38,018.54                                       CT pension
                         $18,500.00                                       Social Security


                         Previous Year 1 (2012):
                         $55,982.46                                       CT pension
                         $24,654.80                                       Social Security
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                   $24,655.00                                           Unemployment Compensation
                   $2,041.58                                            IRA Distibution


                   Previous Year 2 (2011):
                   $55,677.68                                           CT Pension
                   $1,978.40                                            Social Security
                   $14,985.00                                           Unemployment Compensation


         Joint Debtor:
                   N/A



         3. Payments to creditors

         Complete a. or b., as appropriate, and c.

None     a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
        goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
         this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
         Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or
         as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling
         agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
         whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

         NAME AND ADDRESS OF CREDITOR                               DATES OF               AMOUNT                  AMOUNT
                                                                    PAYMENTS               PAID                    STILL OWING


         Debtor:
         None                                                       N/A                    $0.00                   $0.00
         N/A
         N/A
         N/A, N/A N/A

         Joint Debtor:
         None                                                       N/A                    $0.00                   $0.00
         N/A
         N/A
         N/A, N/A N/A


None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
        within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
         constitutes or is affected by such transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*)
         any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
         repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors
         filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or
         not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

         NAME AND ADDRESS OF CREDITOR                                DATES OF               AMOUNT                 AMOUNT
                                                                     PAYMENTS/              PAID OR                STILL
                                                                     TRANSFERS              VALUE OF               OWING
                                                                                            TRANSFERS




* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date
of adjustment.
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None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case
      to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
       include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
       a joint petition is not filed.)

       NAME AND ADDRESS OF CREDITOR                              DATE OF                AMOUNT                AMOUNT
       AND RELATIONSHIP TO DEBTOR                                PAYMENT                PAID                  STILL OWING




       4. Suits and administrative proceedings, executions, garnishments and attachments

None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
      preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
       information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
       and a joint petition is not filed.)separated and a joint petition is not filed.)

       CAPTION OF SUIT                             NATURE OF                 COURT OR                   STATUS OR
       AND CASE NUMBER                             PROCEEDING                AGENCY AND                 DISPOSITION
                                                                             LOCATION

       Debtor:
       LVNV Funding v. Reed                       Collection action         Supeior Court              Pending
       Case Number: KNL-CV-6017216-S                                        70 Huntington Street,
                                                                            New London, CT

       Joint Debtor:
       N/A


None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one
      year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
       must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS                                                                 DESCRIPTION
       OF PERSON FOR WHOSE                                       DATE OF                AND VALUE
       BENEFIT PROPERTY WAS SEIZED                               SEIZURE                OF PROPERTY




       5. Repossessions, foreclosures and returns

None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu
      of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                 DATE OF REPOSSESSION,                    DESCRIPTION
       NAME AND ADDRESS                          FORECLOSURE SALE,                        AND VALUE
       OF CREDITOR OR SELLER                     TRANSFER OR RETURN                       OF PROPERTY




       6. Assignments and receiverships
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None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by
       either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
       filed.)

                                                                                          TERMS OF
       NAME AND ADDRESS                                            DATE OF                ASSIGNMENT
       OF ASSIGNEE                                                 ASSIGNMENT             OR SETTLEMENT




None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
      immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)

                                          NAME AND LOCATION                                      DESCRIPTION
       NAME AND ADDRESS                   OF COURT                            DATE OF            AND VALUE
       OF CUSTODIAN                       CASE TITLE & NUMBER                 ORDER              OF PROPERTY




       7. Gifts

None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case
      except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
       and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or
       chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS                   RELATIONSHIP                                           DESCRIPTION
       OF PERSON                          TO DEBTOR,                          DATE               AND VALUE
       OR ORGANIZATION                    IF ANY                              OF GIFT            OF GIFT




       8. Losses

None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
      of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)

       DESCRIPTION                      DESCRIPTION OF CIRCUMSTANCES AND, IF
       AND VALUE OF                     LOSS WAS COVERED IN WHOLE OR IN PART                              DATE
       PROPERTY                         BY INSURANCE, GIVE PARTICULARS                                    OF LOSS




       9. Payments related to debt counseling or bankruptcy

None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
      consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
       within one year immediately preceding the commencement of this case.
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                                                DATE OF PAYMENT,                          AMOUNT OF MONEY OR
       NAME AND ADDRESS                         NAME OF PAYER IF                          DESCRIPTION AND
       OF PAYEE                                 OTHER THAN DEBTOR                         VALUE OF PROPERTY

       Debtor:
       Frank N. Kibler                          9/4/2013                                  $500.00
       P.O. Box 3                                                                         Partial retainer
       Manchester, CT 06045


       Joint Debtor:
       N/A



       10. Other transfers

None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of
      the debtor, transferred either absolutely or as security within two years immediately preceding the commencement of
       this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
       whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                              DESCRIBE PROPERTY
       NAME AND ADDRESS OF TRANSFEREE,                                                        TRANSFERRED AND
       RELATIONSHIP TO DEBTOR                                          DATE                   VALUE RECEIVED




None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
      to a self-settled trust or similar device of which the debtor is a beneficiary.

                                                           DATE(S) OF          AMOUNT OF MONEY OR DESCRIPTION
       NAME OF TRUST OR OTHER                              TRANSFER(S)         AND VALUE OF PROPERTY OR DEBTOR’S
       DEVICE                                                                  INTEREST IN PROPERTY




       11. Closed financial accounts

None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
      closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include
       checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts
       held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
       institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
       instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated
       and a joint petition is not filed.)

                                                                  TYPE OF ACCOUNT, LAST FOUR                   AMOUNT AND
       NAME AND ADDRESS                                           DIGITS OF ACCOUNT NUMBER,                    DATE OF SALE
       OF INSTITUTION                                             AND AMOUNT OF FINAL                          OR CLOSING
                                                                  BALANCE




       12. Safe deposit boxes
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None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables
      within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
       chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS                     NAMES AND ADDRESSES               DESCRIPTION                 DATE OF
       OF BANK OR                           OF THOSE WITH ACCESS              OF                          TRANSFER
       OTHER DEPOSITORY                     TO BOX OR DEPOSITORY              CONTENTS                    OR SURRENDER,
                                                                                                          IF ANY




       13. Setoffs

None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
      the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)

                                                                              DATE OF                       AMOUNT
       NAME AND ADDRESS OF CREDITOR                                           SETOFF                        OF SETOFF




       14. Property held for another person


None   List all property owned by another person that the debtor holds or controls.


       NAME AND ADDRESS                           DESCRIPTION AND
       OF OWNER                                   VALUE OF PROPERTY                        LOCATION OF PROPERTY




       15. Prior address of debtor

None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises
      which the debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is
       filed, report also any separate address of either spouse.

       ADDRESS                                      NAME USED                               DATES OF OCCUPANCY




       16. Spouses and Former Spouses

None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
      California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years
       immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
       any former spouse who resides or resided with the debtor in the community property state.

       NAME
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       17. Environmental Information.

       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
       releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
       other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
       or material.

       Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
       formerly owned or operated by the debtor, including, but not limited to, disposal sites. "

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous
       material, pollutant, or contaminant or similar term under an Environmental Law.

None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental
      unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
       governmental unit, the date of the notice, and, if known, the Environmental Law:

       SITE NAME                            NAME AND ADDRESS     DATE OF                                  ENVIRONMENTAL
       AND ADDRESS                          OF GOVERNMENTAL UNIT NOTICE                                   LAW




None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release
      of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

       SITE NAME                           NAME AND ADDRESS     DATE OF                                   ENVIRONMENTAL
       AND ADDRESS                         OF GOVERNMENTAL UNIT NOTICE                                    LAW




None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
      respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a
       party to the proceeding, and the docket number.

       NAME AND ADDRESS                                                                             STATUS OR
       OF GOVERNMENTAL UNIT                                           DOCKET NUMBER                 DISPOSITION




       18 . Nature, location and name of business

None   a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
      and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
       executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
       other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
       which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding
       the commencement of this case.

             If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
             and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
             the voting or equity securities, within six years immediately preceding the commencement of this case.
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                If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
                and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
                the voting or equity securities within six years immediately preceding the commencement of this case.


                               LAST FOUR DIGITS
                               OF SOCIAL-SECURITY                                                                       BEGINNING
                               OR OTHER INDIVIDUAL                                                                      AND
                               TAXPAYER-I.D. NO                                                 NATURE OF               ENDING
          NAME                 (ITIN)/ COMPLETE EIN             ADDRESS                         BUSINESS                DATES

          Debtor:
          John Reed -          6551/                            525 Exeter Road                 Therapist               Beginning Date:
          Psychotherapy -      N/A                              Lebanon, CT 06249                                       2002
          private practice                                                                                              Ending Date: on-
                                                                                                                        going

          Joint Debtor:
          Brave On Down 3364 /                                  525 Exeter Road                 Yoga studio             Beginning Date:
          Yoga & Wellness N/A                                   Lebanon, CT 06249                                       2/18/2004
          Studio, LLC                                                                                                   Ending Date:
                                                                                                                        12/30/2008


None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as
         defined in 11 U.S.C. § 101.

          NAME                                      ADDRESS




           The following questions are to be completed by every debtor that is a corporation or partnership and by any individual
debtor who is or has been, within six years immediately preceding the commencement of this case, any of the following: an
officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed in a trade, profession, or other activity,
either full- or part-time.

           (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in
business, as defined above, within six years immediately preceding the commencement of this case. A debtor who has not been
in business within those six years should go directly to the signature page.)


          19. Books, records and financial statements

None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this
         bankruptcy case kept or supervised the keeping of books of account and records of the debtor.

          NAME AND ADDRESS                                                                       DATES SERVICES RENDERED

          Debtor:
          N/A

          Joint Debtor:
          N/A


None      b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy
         case have audited the books of account and records, or prepared a financial statement of the debtor.
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       NAME                                    ADDRESS                                    DATES SERVICES RENDERED

       Debtor:
       N/A

       Joint Debtor:
       N/A


None   c. List all firms or individuals who at the time of the commencement of this case were in possession of the
      books of account and records of the debtor. If any of the books of account and records are not available, explain.

       NAME                                              ADDRESS

       Debtor:
       N/A

       Joint Debtor:
       N/A


None   d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
      financial statement was issued by the debtor within two years immediately preceding the commencement of this case.

       NAME AND ADDRESS                                                                 DATE ISSUED

       Debtor:
       N/A

       Joint Debtor:
       N/A



       20. Inventories

None   a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
      taking of each inventory, and the dollar amount and basis of each inventory.

                                                                                          DOLLAR AMOUNT
                                                                                          OF INVENTORY
                                                                                          (Specify cost, market or other
       DATE OF INVENTORY                       INVENTORY SUPERVISOR                       basis)

       Debtor:
       N/A

       Joint Debtor:
       N/A


None   b. List the name and address of the person having possession of the records of each of the inventories reported
      in a., above.

                                               NAME AND ADDRESSES
                                               OF CUSTODIAN
       DATE OF INVENTORY                       OF INVENTORY RECORDS

       Debtor:
       N/A
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       N/A



       21. Current Partners, Officers, Directors and Shareholders

None   a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
      partnership.

       NAME AND ADDRESS                            NATURE OF INTEREST                        PERCENTAGE OF INTEREST

       N/A


None   b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who
      directly or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the
       corporation.

                                                                                             NATURE AND PERCENTAGE
       NAME AND ADDRESS                            TITLE                                     OF STOCK OWNERSHIP

       N/A



       22. Former partners, officers, directors and shareholders

None   a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
      preceding the commencement of this case.

       NAME                                      ADDRESS                                     DATE OF WITHDRAWAL

       N/A


None   b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated
      within one year immediately preceding the commencement of this case.

       NAME AND ADDRESS                                    TITLE                                   DATE OF TERMINATION

       N/A



       23 . Withdrawals from a partnership or distributions by a corporation

None   If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider,
      including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite
       during one year immediately preceding the commencement of this case.


       NAME & ADDRESS                                                                        AMOUNT OF MONEY
       OF RECIPIENT,                               DATE AND PURPOSE                          OR DESCRIPTION
       RELATIONSHIP TO DEBTOR                      OF WITHDRAWAL                             AND VALUE OF PROPERTY

       N/A



       24. Tax Consolidation Group.

None   If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any
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      consolidated group for tax purposes of which the debtor has been a member at any time within six years immediately
       preceding the commencement of the case.

       NAME OF PARENT CORPORATION                                                    TAXPAYER-IDENTIFICATION NUMBER (EIN)




       25. Pension Funds.

None   If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to
      which the debtor, as an employer, has been responsible for contributing at any time within six years immediately
       preceding the commencement of the case.

       NAME OF PENSION FUND                                                         TAXPAYER-IDENTIFICATION NUMBER (EIN)



                                                                    ******


       I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs
       and any attachments thereto and that they are true and correct.



                                                                                 Signature
       Date January 6, 2014                                                      of Debtor         s/John H. Reed

                                                                                 Signature of
                                                                                 Joint Debtor
       Date January 6, 2014                                                      (if any)     s/Paula Linda Reed

                                                           0 continuation sheets attached


          Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571
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B 8 (Official Form 8) (12/08)




                           UNITED STATES BANKRUPTCY COURT
                                                  CONNECTICUT
In re John H. Reed and Paula Linda Reed                                      Case No.
           Debtor                                                            Chapter 7

           CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A – Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is
secured by property of the estate. Attach additional pages if necessary.)

 Property No. 1
 Creditor's Name:                                          Describe Property Securing Debt:
 CITIZENSBK                                                525 Exeter Road, Lebanon, CT
 Property will be (check one):
           Surrendered                        Retained

 If retaining the property, I intend to (check at least one):
           Redeem the property
           Reaffirm the debt
           Other. Explain Debtors shall continue to make monthly payments.

 Property is (check one):
            Claimed as exempt                 Not claimed as exempt

 Property No. 2
 Creditor's Name:                                          Describe Property Securing Debt:
 Citizens Bank                                             525 Exeter Road, Lebanon, CT
 Property will be (check one):
           Surrendered                        Retained

 If retaining the property, I intend to (check at least one):
           Redeem the property
           Reaffirm the debt
           Other. Explain ________________________________ (for example, avoid lien using 11
 U.S.C. § 522(f)).

 Property is (check one):
            Claimed as exempt                 Not claimed as exempt
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 Property No. 3
 Creditor's Name:                                          Describe Property Securing Debt:
 ***Creditor secured name RTE***                           ***Creditor secured property description RTE***
 Property will be (check one):
           Surrendered                        Retained

 If retaining the property, I intend to (check at least one):
           Redeem the property
           Reaffirm the debt
           Other. Explain ________________________________ (for example, avoid lien using 11
 U.S.C. § 522(f)).

 Property is (check one):
            Claimed as exempt                 Not claimed as exempt


PART B – Personal property subject to unexpired leases. (All three columns of Part B must be completed
for each unexpired lease. Attach additional pages if necessary.)
  Property No. 1
 Lessor’s Name:                           Describe Leased Property:               Lease will be Assumed pursuant
 None                                                                             to 11 U.S.C. § 365(p)(2):
                                                                                   YES            NO


I declare under penalty of perjury that the above indicates my intention as to any property of my
estate securing a debt and/or personal property subject to an unexpired lease.

Date: January 6, 2014                                              s/John H. Reed
                                                                   Signature of Debtor



                                                                   s/Paula Linda Reed
                                                                   Signature of Joint Debtor
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                                                             CONNECTICUT




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          John H. Reed and Paula Linda Reed
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      January 6, 2014
      ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ                                     s/s/ Frank N.Kibler
                                                     ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ
                   Ü¿¬»                                                         Frank N. Kibler
                                                                           Í·¹²¿¬«®» ±º ß¬¬±®²»§

                                                                     Attorney Frank N. Kibler
                                                     ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ
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FB 201A (Form 201A) (11/12)



                              UNITED STATES BANKRUPTCY COURT

                      NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
                               OF THE BANKRUPTCY CODE
        In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer
debts: (1) Describes briefly the services available from credit counseling services; (2) Describes briefly the
purposes, benefits and costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you
about bankruptcy crimes and notifies you that the Attorney General may examine all information you supply in
connection with a bankruptcy case.

        You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek
the advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court
employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In
order to ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that
you notify the court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two
individuals married to each other), and each spouse lists the same mailing address on the bankruptcy petition, you
and your spouse will generally receive a single copy of each notice mailed from the bankruptcy court in a jointly-
addressed envelope, unless you file a statement with the court requesting that each spouse receive a separate copy of
all notices.

1. Services Available from Credit Counseling Agencies

        With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file
for bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities
for credit counseling and provides assistance in performing a budget analysis. The briefing must be given
within 180 days before the bankruptcy filing. The briefing may be provided individually or in a group (including
briefings conducted by telephone or on the Internet) and must be provided by a nonprofit budget and credit
counseling agency approved by the United States trustee or bankruptcy administrator. The clerk of the bankruptcy
court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a joint
case must complete the briefing.

        In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

         Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total fee $306)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing
debts. Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine
whether the case should be permitted to proceed under chapter 7. If your income is greater than the median income
for your state of residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the
trustee, or creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the
Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may
have the right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to
pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are
found to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny
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         Form B 201A, Notice to Consumer Debtor(s)                                                       Page 2

your discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
        Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore,
you may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic
support and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations;
certain debts which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused
by operating a motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove
that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy
court may determine that the debt is not discharged.

        Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing
fee, $46 administrative fee: Total fee $281)
        Chapter 13 is designed for individuals with regular income who would like to pay all or part of
their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed
certain dollar amounts set forth in the Bankruptcy Code.
        Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you
owe them, using your future earnings. The period allowed by the court to repay your debts may be three years or
five years, depending upon your income and other factors. The court must approve your plan before it can take
effect.
        After completing the payments under your plan, your debts are generally discharged except for domestic
support obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts
which are not properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury;
and certain long term secured obligations.

        Chapter 11: Reorganization ($1,167 filing fee, $46 administrative fee: Total fee $1,213)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed
with an attorney.

        Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
        Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those
whose income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

        A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty
of perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or
both. All information supplied by a debtor in connection with a bankruptcy case is subject to examination by the
Attorney General acting through the Office of the United States Trustee, the Office of the United States Attorney,
and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if
this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and
the local rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.
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B 201B (Form 201B) (12/09)
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                                UNITED STATES BANKRUPTCY COURT
                                               CONNECTICUT
                                ________________________________________




In re
        John H. Reed and Paula Linda Reed
        ___________________________________                                         Case No. _______________
                   Debtor
                                                                                    Chapter ________________
                                                                                            7



                             CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                 UNDER § 342(b) OF THE BANKRUPTCY CODE


                                  Certification of [Non-Attorney] Bankruptcy Petition Preparer
         I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the
attached notice, as required by § 342(b) of the Bankruptcy Code.

_____________________________________________                                       _______________________________________
Printed name and title, if any, of Bankruptcy Petition Preparer                     Social Security number (If the bankruptcy petition
Address:                                                                            preparer is not an individual, state the Social Security
                                                                                    number of the officer, principal, responsible person, or
                                                                                    partner of the bankruptcy petition preparer.) (Required
X_______________________________________________                                    by 11 U.S.C. § 110.)

Signature of Bankruptcy Petition Preparer or officer,
principal, responsible person, or partner whose Social
Security number is provided above.



                                                         Certification of the Debtor
         I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.



John H. Reed and Paula Linda Reed
_________________________________________                                   s/John H. Reed               January 6, 2014
                                                                          X______________________________________________
Printed Name(s) of Debtor(s)                                              Signature of Debtor                  Date

Case No. (if known) ________________________                                s/Paula Linda Reed               January 6, 2014
                                                                          X______________________________________________
                                                                          Signature of Joint Debtor (if any)      Date


___________________________________________________________________________________________________

Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the
debtor’s attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy
petition preparers on page 3 of Form B1 also include this certification.
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                                         Associated Dental
                                         935 Main Street
                                         Manchester, CT 06040


                                         BHR
                                         164 Burke Street
                                         Suite 201
                                         Nashua, NH 03060


                                         Capital One
                                         P.O. Box 71083
                                         Charlotte, NC 28272



                                         Citizens Bank
                                         One Citizens Drive
                                         Riverside, RI 02904



                                         CITIZENSBK
                                         1 CITIZENS DRIVE
                                         RIVERSIDE, RI 02886



                                         Clinical Laboratories Partners LLC
                                         P.O. Box 1799
                                         Colorado Springs, CO 80901-1799



                                         GECRB/CARE
                                         C/O P.O. BOX 965036
                                         ORLANDO, FL 32896-5036


                                         Heather Q. Wallace, Esq.
                                         41 Kenosia Avenue
                                         Suite 302
                                         Danbury, CT 06810


                                         Ideal Image
                                         P.O. Box 659622
                                         San Antonio, TX 78265
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                                         LVNVFUNDG
                                         625 PILOT ROAD SUITE 2/3
                                         LAS VEGAS, NV 89119



                                         Macy's
                                         P.O. Box 183083
                                         Columbus, OH 43218-3083



                                         Middlesex Hospital Marlborough Medical C
                                         12 Jones Hollow Road
                                         Marborough, CT 06447



                                         Nordstrom
                                         P.O. Box 6555
                                         Englewood, CO 80155



                                         Quest Laboratories
                                         15 South Elm Street
                                         Wallingford, CT 06492



                                         Tractor Supply
                                         P.O. Box 6403
                                         Sioux Falls, SD 57117-6403



                                         Twin Oaks Software
                                         P.O. Box 247
                                         Kensington, CT 06037


                                         U.S. Dept. of Treasury
                                         Debt Management Services
                                         P.O. Box 70950
                                         Charlotte, NC 08272
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                                                 UNITED STATES BANKRUPTCY COURT
                                                                   Connecticut


         John H. Reed and Paula Linda Reed
In re:                                                                                               Case No.
                                              Debtors
                                                                                                     Chapter    7


                                     VERIFICATION OF CREDITOR MATRIX
              The above named debtor(s), or debtor’s attorney if applicable, do hereby certify under penalty of perjury that the
         attached Master Mailing List of creditors is complete, correct and consistent with the debtor's schedules pursuant to
         Local Bankruptcy Rules and I/we assume all responsibility for errors and omissions.




         Dated:      January 6, 2014                                          Signed:   s/John H. Reed




         Dated:      January 6, 2014                                          Signed:   s/Paula Linda Reed
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                                                 UNITED STATES BANKRUPTCY COURT
                                                            Connecticut


                                     STATEMENT OF INFORMATION REQUIRED BY 11 U.S.C. § 341



INTRODUCTION

            Pursuant to the Bankruptcy Reform Act of 1994, the Office of the United States Bankruptcy
Administrator has prepared this information sheet to help you understand some of the possible consequences
of filing a bankruptcy petition under chapter 7 of the Bankruptcy Code. This information is intended to make
you aware of -
            (1) the potential consequences of seeking a discharge in bankruptcy,
                  including the effects on credit history;
            (2) the effect of receiving a discharge of debts in bankruptcy;
            (3) the effect of reaffirming a debt; and
            (4) your ability to file a petition under a different chapter of the Bankruptcy
                  Code.
            There are many other provisions of the Bankruptcy Code that may affect your situation. This
statement contains only general principles of law and is not a substitute for legal advice. If you have any
questions or need further information as to how the bankruptcy laws apply to your specific case, you should
consult with your lawyer.

WHAT IS A DISCHARGE?

           The filing of a chapter 7 petition is designed to result in a discharge of most of the debts you
listed in your bankruptcy schedules. A discharge is a court order that says that you do not have to repay your
debts, but there are a number of exceptions. Debts which usually may not be discharged in your chapter 7
case include, for example, most taxes, child support, alimony, and student loans; court-ordered fines and
restitution; debts obtained through fraud or deception; debts which were not listed in your bankruptcy
schedules; and personal injury debts caused by driving while intoxicated or taking drugs. Your discharge may
be denied entirely if you, for example, destroy or conceal property; destroy, conceal or falsify records; or make
a false oath. Creditors cannot ask you to repay debts which have been discharged. You can only receive a
chapter 7 discharge once every eight (8) years.

WHAT ARE THE POTENTIAL EFFECTS OF A DISCHARGE?

           The fact that you filed bankruptcy can appear on your credit report for as long as 10 years.
Thus, filing a bankruptcy petition may affect your ability to obtain credit in the future. Also, you may not be
excused from repaying debts that were not listed on your bankruptcy schedules or that you incurred after you
filed bankruptcy. There are exceptions to this general statement. See your lawyer if you have questions.

WHAT ARE THE EFFECTS OF REAFFIRMING A DEBT?

           After you file your bankruptcy petition, a creditor may ask you to reaffirm a certain debt or you
may seek to do so on your own. Reaffirming a debt means that you sign and file with the court a legally
enforceable document which states that you promise to repay all or a portion of the debt that may otherwise
have been discharged in your bankruptcy case. Reaffirmation agreements must generally be filed with the court
sixty (60) days after the first meeting of creditors.
           Reaffirmation agreements are strictly voluntary. They are not required by the Bankruptcy Code
or other state or federal law. You can voluntarily repay any debt instead of signing a reaffirmation agreement,
but there may be valid reasons for wanting to reaffirm a particular debt. This is particularly true when property
you wish to retain is collateral for a debt.
           Reaffirmation agreements must not impose an undue burden on you or your dependents and
must be in your best interest. If you decide to sign a reaffirmation agreement, you may cancel it at any time
before the court issues an order of discharge or within sixty (60) days after you filed the reaffirmation agreement
with the court, whichever is later.
           If you reaffirm a debt and fail to make the payments as required in the reaffirmation agreement,
the creditor can take action against you to recover any property that was given as security for the loan and you
may remain personally liable for any deficiency. In addition, creditors may seek other remedies, such as
garnishment of wages.

OTHER BANKRUPTCY OPTIONS
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           You have a choice in deciding what chapter of the Bankruptcy Code will best suit your needs.
Even if you have already filed for relief under chapter 7, you may be eligible to convert your case to a different
chapter.
           Chapter 7 is the liquidation chapter of the Bankruptcy Code. Under chapter 7, a trustee is
appointed to collect and sell, if economically feasible, all property you own that is not exempt from these
actions.
           Chapter 11 is the reorganization chapter most commonly used by businesses, but it is also
available to individuals. Creditors vote on whether to accept or reject a plan, which also must be approved by
the court. While the debtor normally remains in control of the assets, the court can order the appointment of
a trustee to take possession and control of the business.
           Chapter 12 offers bankruptcy relief to those who qualify as family farmers. Family farmers
must propose a plan to repay their creditors over a three-to-five year period and it must be approved by the
court. Plan payments are made through a chapter 12 trustee, who also monitors the debtors' farming
operations during the pendency of the plan.
           Finally, chapter 13 generally permits individuals to keep their property by repaying creditors
out of their future income. Each chapter 13 debtor writes a plan which must be approved by the bankruptcy
court. The debtors must pay the chapter 13 trustee the amount set forth in their plan. Debtors receive a
discharge after they complete their chapter 13 repayment plan. Chapter 13 is only available to individuals with
regular income whose debts do not exceed $1,000,000 ($250,000 in unsecured debts and $750,000 in secured
debts).

       AGAIN, PLEASE SPEAK TO YOUR LAWYER IF YOU NEED FURTHER INFORMATION OR
EXPLANATION, INCLUDING HOW THE BANKRUPTCY LAWS RELATE TO YOUR SPECIFIC CASE.

          By signing below, I/we acknowledge that I/we have received a copy of this document, and that
I/we have had an opportunity to discuss the information in this document with an attorney of my/our choice.



Date    January 6, 2014                                              s/John H. Reed
                                                                     John H. Reed


                                                                     s/Paula Linda Reed
                                                                     Paula Linda Reed




                                                                    2
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                                WRITTEN NOTICE REQUIRED UNDER SECTION 527(a)(2)


              All information that you are required to provide with a petition and thereafter during a case under title 11
(“Bankruptcy”) of the United States Code is required to be complete, accurate, and truthful.

             All assets and all liabilities are required to be completely and accurately disclosed in the documents filed
to commence the case, and the replacement value of each asset as defined in title 11 United States Code section 506
must be stated in those documents where requested after reasonable inquiry to establish such value.
               Current monthly income, the amounts specified in section 707(b)(2), and, in a case under chapter 13 of
title 11, disposable income (determined in accordance with section 707(b)(2)), are required to be stated after
reasonable inquiry.
              Information that you provide during your case may be audited pursuant to title 11. Failure to provide
such information may result in dismissal of the case under title 11 or other sanction, including criminal sanctions.


  Date   January 6, 2014                                  s/John H. Reed
                                                          John H. Reed
                                                          Debtor


                                                          s/Paula Linda Reed
                                                          Paula Linda Reed
                                                          Joint Debtor


                                                          s/s/ Frank N.Kibler
                                                          Frank N. Kibler
                                                          Attorney for Debtor(s)
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                      IMPORTANT INFORMATION ABOUT BANKRUPTCY ASSISTANCE
                   SERVICES FROM AN ATTORNEY OR BANKRUPTCY PETITION PREPARER

           If you decide to seek bankruptcy relief, you can represent yourself, you can hire an attorney to represent
you, or you can get help in some localities from a bankruptcy petition preparer who is not an attorney. THE LAW
REQUIRES AN ATTORNEY OR BANKRUPTCY PETITION PREPARER TO GIVE YOU A WRITTEN CONTRACT
SPECIFYING WHAT THE ATTORNEY OR BANKRUPTCY PETITION PREPARER WILL DO FOR YOU AND HOW
MUCH IT WILL COST. Ask to see the contract before you hire anyone.

         The following information helps you understand what must be done in a routine bankruptcy case to help you
evaluate how much service you need. Although bankruptcy can be complex, many cases are routine.


            Before filing a bankruptcy case, either you or your attorney should analyze your eligibility for different forms
of debt relief available under the Bankruptcy Code and which form of relief is most likely to be beneficial for you. Be
sure you understand the relief you can obtain and its limitations. To file a bankruptcy case, documents called a Petition,
Schedules and Statement of Financial Affairs, as well as in some cases a Statement of Intention need to be prepared
correctly and filed with the bankruptcy court. You will have to pay a filing fee to the bankruptcy court. Once your case
starts, you will have to attend the required first meeting of creditors where you may be questioned by a court official
called a "trustee" and by creditors.


          If you choose to file a chapter 7 case, you may be asked by a creditor to reaffirm a debt. You may want help
deciding whether to do so. A creditor is not permitted to coerce you into reaffirming your debts.


            If you choose to file a chapter 13 case in which you repay your creditors what you can afford over 3 to 5
years, you may also want help with preparing your chapter 13 plan and with the confirmation hearing on your plan which
will be before a bankruptcy judge.

            If you select another type of relief under the Bankruptcy Code other than chapter 7 or chapter 13, you will
want to find out what should be done from someone familiar with that type of relief.


             Your bankruptcy case may also involve litigation. You are generally permitted to represent yourself in
litigation in bankruptcy court, but only attorneys, not bankruptcy petition preparers, can give you legal advice.



 Date   January 6, 2014                                   s/John H. Reed
                                                          John H. Reed
                                                          Debtor


                                                          s/Paula Linda Reed
                                                          Paula Linda Reed
                                                          Joint Debtor


                                                          s/s/ Frank N.Kibler
                                                          Frank N. Kibler
                                                          Attorney for Debtor(s)




                            This disclosure is provided to assisted persons pursuant to 11 U.S.C. §527(b)
